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‘ E)<hibiT 1 `

 

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CaS€ 2216-CV-00961-.]A|\/|-AC

Matthew Loeffler
5959 Wo'odbriar Wa_y
ClU'uS'Heights, Ca.

- gsso) 717,03,3-3- .

MAITHEW LOEEFLER",
_Plaimiff,

’ -vs.

Bumz cQLLE<;E

EBEOE:`HOSBTTAI; '

‘ f '-'CHI'€© PQLICE DE~PART`MENI
."D'oa"s .1‘THR'QUGH-50,

.De'fendazits

COMPLAIN"I ‘~ l

 

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SUP`ERIOR.C.QURT 01= T_H_E.-'STATE ,oP cALIfORNIA #§»\ \’;<NL
FQRT:I-_IE coUNIY 01= B_U'n-'B l

‘ Case No.:

. '2»._ FALSE L):G-H_T

. 6}. €ONSPD`€ACY _
‘ -1;. wcA. mens m<s'z>'_<stx;smm-
' s-r. mE'NTioNAL=mmCHQNO;F

1.'0'. DISCRIMNATIQN‘;(.AJ)A)
§ 11 WQLA'.HQN QFDUI=BRGQESS,CLAUSE?
" 13.= BREACH.-OF CoN'_mA“`c§:

_ 15-. ATTEWTED.EXTQRI'ION-

. m H#L`EGAL SEARCH.AND;SEI;UR_ E_

 

SuperiorCouanCa!ifomja F
1 Co'um.y QfBuTte §
L, "r\'.',§'q"`- n L

D Kimbier'[y Flener Oierk

BV~`Y-‘%WEH`DGM

“.*’ l m-_l v_

COMBLA'H_\IT`-'FOR: ,`

 

.'~ ,'<'
“1»'*»¢'/

1. DEFAMATIQN~GF` CH.ARACTER

..3'.-. NE;GLIGENGE~

4. ABU_sE-_ QF. POWER'(42 Usc 1983)`

5.- HARASSMENT-zN.A,EDUcATIONAI
INST;TUT`I<SN

EMO.T»IONAL DIS~T'RESS

9. CAL}IFORNI.'A ED`_UCATI'ONAL CfODE'
V:’IOLATIONS

1§'1~. C.OHERSIGN

141 wR.oNGmL;UsE oFAm/HNISTRATIVE

P_ROCEEDETGS

_16, FALSE_ mPRI_SONMENT
1'7; UNLAWU-L ~ARRESI

1'.9-1.. .DEMAND'FGRJURYTRIAL

 

 

 

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GENERAL ALLIGATIONS

Pla'intiffM'attheW'Loe)'§’c`_l'er brings forth the _fQ'-Howing_ causes of action ' '

and alleges the following

Plaiiiiif£ MATTHEW S. LOE_FFLER (heieafcei"‘LoEFFFLER”) is ~a.
combat Ve.te'rafi, Wh'd Wa:s honorany discharged on February~ 4“",,. 201-25 from -
the Unifes States Navy.

 

LQEFPLER.E~i-iioiiii ii BUT:E 001 4 .
(iieieafiei BUTTE>Oii@i ibiiiiiAiigiisi 28th 2014

Plaiintiff is unaware of’all. the 'true names and ~G-§pacit',ies_-,. Wea‘che'r
individuel,,eooperaie, pawneishi;)_, associate .oriot-J;ierwise~, 'Qf'De;fendant`Sf
D;<;)'_e's 1 threugh ;§0,_:}_1‘1'ielusi_~we: and has -therefere'::;ued:=ihem by forgeng
fictions names pursuant to 1beipr6vi510ns- odf'th'"e Cali-‘fomi;a Provi‘s.ion'a§[ ._C-`ode.
Pla'in“cif='f‘i'sz`i'nformedia;nd believes,. and on die-basis alleges, that each of the
defenéznts designated as a DOE is in-Seme way responsible ’foi‘_., participated
iii ~;iiiiiiiiiriiiie<i-iii,_ wieii:iei)efeiidiiii$; CHICO PO'HCE DEPAR'IMENT n

AND BUT:E COLLEGE AND ENLQE.HOSPITAL iii the matter ofeiiei_i;is

C'OMPLA]NT -- 21

 

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\’. Q\ v~. 41 ..

 

 

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-o?'which the Plaintiff complaints herein1..and in Some-fashion has legally
responsibility therefore., The~ the true names add capacities of such D.oes are _
discovered, i>laintiffwiil seek`leav€ to amend this Coriiplaiiit'by the
ibser*tion of such names and capacities and, if necessai'y,-p'roper Words to

` charge each Doe.Refere_nQ'e_ to the tenn “Det`eniiarits`” hereinafter shall mean
ther named De`f`enda;if a';n"di doe's.' i` through 501 unless other -Wi'se _iiidi¢af€d.

4_. On or about ‘Nove'mb'er'- 3120 14,_`LO`E`SFLER had a meeting 'With BELINDA
s_C.HAFER, BUTTECOLLEGE BARAl\;i/Emebtssci:os, "
DEPARTMENT CHA]RMEi\/IBER;(bereaff_er' “SCHAFER”')_,; discussng
hen failure to ceiii-piymih ;BUT133 P;Q;_i¢y regasdjn;g accommodations for
ismdeiiis..wirri disabilities`;._

5‘. '5LOEPFLER Was denied=fher appropriate accommodations in
aceor<‘iaiie'e With the ADAand BUT'I'E:p'oHey,_. prior'to' fbi's date Tbe test
Wa'sj» en Car_di‘§a.s Rhythms

_`6. ”La_'i:er,__ ._on _or- abont.‘FebI-uaizy 2121.0'1'~5,..1!;1¢. BIair-itiff expresses his
C¢z.i:c.ems to D'ENI~SE ADAMS DEAN CAREERAND TECHMCAL
'EDUCAT.{ON BU_TTE COLEEGE (hereafter “ADAMS”), about his

- accommodations foibi-`s disability

.coMPLAiNT _. 3

 

 

 

 

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7. Pl'ainfiff states to ADAMS, “I am a .D.SPS (DISABLED STUDEN'I
andPROGRAM SERVICES)‘§SU&CntZ Wll'o requires spe__oiiie fes_t
aceommodations.’~"

8. The Plaintiff continues to explain to ADAMS`.'.f`h'at SCHAFER forced

him w ake a rest outside:.@iihe piiiaiiieieis get iii-nisi by iii¢ ./.ii)A5
IS»'HPPOI;'T€.C§ ianii.zsigned by SCHAFFER l

11' gi ADAMS dismisses '.t"he'4c`~:.o'i:`n_pl‘_e_iini;.4

10. O_n or"~-ab'ou't. No'i'ze'mb_er; .'_1.~ 5 §_29`1_:4, 'LOEEFLE.R wrote an email to

BUT”IE Collegeil%ll§?i,~witb .con¢.ems;=toithe-conduct ofBUTTE"COLLEGE--"S~

 

PARAMEDIC PRoGRAi;/i :(:iieieai'iei “BUTIENLEDIC).-
1 1_. BUTT§`E .Humafi recoiir-;_ses.,.di<i not;‘te.sp.oln<."i unti`i'Februaiy 1111 i*}, :2"-'0"1".5'..
19‘;§' f ' 1`2 "Oii~di shaw soieiiibw 141 _2_0~1;:41 di;iiiiig- ii me@iiiig:»wiiii scHAFER,
ii . incHAEL sMnHEMT nismnosos nom ceases gii@ieiii"i¢i

:DICfl_,NS£ 'UCYORBUHE ¥'

   

2 season wisFLIGH'.)F’iMst):i;<-:-'ENLoE-Host>n:;ii; iii-weise »
26 ' CUNEO)the piaiiiiif§_’tosFELsR, was assessed with ramiii*¢iiiqiis;fqi

not attending ;a_“".non-mandatoijy"é' event 'afENLOE hospitali,

l. coMPL._An~_rrr -_--4

 

 

 

 

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»PUJN»-l

‘ ~"cOMPLAn<IT - 5

 

 

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13.. The. plaintiff argued this Was not a punishable Su'bject, and violated
B`UTTE; and Cal'i_fom_i__a Edncatio'__nal policy pertaining 10 “-O`uti'ngs and
Exou;rsions.”

14». l ;L,OEF'FL'ER presented §tlie.BY.U'l" TE form, find Eclt'zc`at`ional~ Code- citing '
this poli'ey‘to l;)"e ‘n'ue..

15 SCHAFER, l SMITH CUNEO ignored its§ mporfanceand stated
‘L.OEFF.BER.Wa's§"being;~de_i_a"n_t;aniinsubordinaie?~..

1;6. .S CHAF~ER stated, “‘We" hav.e.had students like you before, and it
~,didii’-`t finn-out well for them.”` Ih'e_ plahttiff inquiredia*hout =ilie§nature of:ihi.s
-S€aféfliéf'l’£..

17 Qiiiwaboiiiiaiiiiaiysm1211-151ienhn;nn.appioii¢hei scHAFER
~anii requesté& ifhe.c ouid.gei;fhisi])‘nig; Sci¢einihg '_élone: at;§`ljun¢l`.ti

13. Durtng the holiday"btea'l§ inDeeenil).er.LCEFFLEK attempted l*£.j<)'i
f¢<)ir_.ti§l.@‘f€ hisiS<;z:reeiri.ztg'throughia>~pui)lie enth =an<i.- was -;Jna.ware th;.e
'sei°eenjiiifg-,'_hat`l= toi`b.`e completed-ata specific location in- Gh:lco,_.Ca.

1_'9. LOEEFEER_ approached`§SCHAFli`ER .and .asli:e‘d',. “C'an I. gent my drug
.Scr.een donea~atilun¢hf""` SCHAEEER.;.reSPond€d, “‘DOn"lt-wt)ny about it, You
will havetiine~t@~i£lo it later when We~g;o down te "=C`hico fbi four clinical

onentati'ons;’~’

 

 

 

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20. Two Stiideiits, DERJJ<.PINKERMAN and BRYAN EISENBIEZ,
W_itn`es_sed tb._is.eonversati_on.

21. On_ or about Februai'y '2, 2015, LOEFFLER Was placed on pr_‘o‘bati`sn
for failing to' submit 1a urinalysis .¥in “accordanee‘ with t`he. BUT.TE
'PARA~L/[EDIC` syllabus,'” stated SCHAFER. - l

22. The-_Plajntiff'stated,"_in his formal appeal letter andverl)ally'to
SCHAFERand ADAMS_,.'thei date Qf'iiie urinalysis Was not cited in the
iBiUTTE PARAIV[EDIC syllabus, desp`ife -`tbiS factualjp,ro_cl,uetion€=of`s\"r'iden`ce.,j
ADAMS and ~SCHA_FER "confi`n`ue'd with the Plain“`c?ii`f??si__p;fobation_.

22 12 22222211222222221 n or aboutFeb 2291512.2 mims

 

Was directed"by SCHAFER’£:)' have bi's~'ur_inal¥s`is “C'iear'ed up” Wi-thln 72 `
hours _F'Or :~failure to do sci-will result ;in the Pl;aint'if£"."s_- (-.Continual) fsuspensidn .
&.'o'm.the* BUTTEPARAl\/[EDIC program
242 'Tb€'- Plamtlff“malysls Was cleared Wi'ihin 2491`101123,_, ,Plaintifffff"€,§>'<>if_f¢@
toSCHAFFER-:~despiie'§'iheitfhe;?laintiffsisuitaiiieitttis:j)'t')n"s‘é, SCHAPER
l continued to keep the'.plainti£f on suspension Without~justiffie'bl`e cause
25. ' On `or about F'ebruary 2_, ..2._0il5-1,..`i£.iOEFF.'.E[FE-R.ll contacts ALLAN

' ' ` ._L'E _BUTTE .CQLlj-EGE Vii"ee:l?fesident,_ 'St"udent S.ervicesj Titl'e D{

 

_ancl 504 Ciompliance .Offic.er. Qh_ereail:`er “RENVH,LE”')-in an entail and

 

 

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\_OOQ`-\l'¢\u\J=.w`

 

 

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states, “Mr. Renvi_lle, l have currently been put on Probation for the
paramedic program for "instalbo,r.di_l_latiortiz2 When.l_ haveno history of
problematic behavior,, and l not,willi_ngly dened the authority of my
Superiers. Can We please in"‘ee.*c?l 'I feel like l have no one to represent mel in

these ztllez<get’tio_ns~.”l TAMI VANSKIKE,Adinjhi'sirat'iVe Assista"n't,_ Ofliee. of

 

the vice Piesid_eiii ( . '» -~- - ._ LE_),_ BUTIE CQLLEGE (h¢iehs¢i
~"‘VANSKIKE”), responded enREN\/'ILLE’ s behelf,:djreeti`ng LOEFFLE_R_
'to meet with ADAMS. l

26. LOEFFLER conteeted..ADAl\/IS numerous tinie's' and Was ignored.'

27. LDEEPLER eeiitaeteil'KELLEYl\/iUNSGN (here_aftei~ “MUI;ISON”)-,, -
.`a$so¢iéie¢istudents forBUTl`E, and JORD'AN BIARD (herealier
=“.B.lARD”_,)-,~:siudeni: representative from Assgoiciaitedl~ Sfild€nf`$§,:to§ assist in
_asqi)il‘ing aime'eiing with ADAMS

2.8;. A meeting Was; nnie-Stabl;ished until BIARD converted ADAM_S 021
LOEFFLE;'R’ES behalf:.-

29. fn the email from BIARD fo‘ ADAMS, ‘BIARD made it clear
LO_EFFLE_R wanted a third party representative present during the meeting

ADAMS ackhewledg_edithe:'ieqtzesiend‘ approves

' €OL£PLADIT - 7

 

 

 

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30-. On` or about Fe`brualy Sth, `2015¢,_ ADAMS denied LOEFFLER a third d
party Witness. t

3.‘1. ADAMS states,- “l. don.’t talk t`o family er -attorneysf-’ despite her email
and response to B]'.ARD_.

32_. LIOEFFLER was afraid all parties .O.ft`h'e. meeting would not be held
accountableer facts and statements media ~in.;fea‘r of being miner punished
"LOEFF`LER continues with the meeting

33. ADAMS has a stenographer;, 'LIS;A BEBNAL-W._OOD, ADAMS
assistant thereafter “WOOD’-if) annotatingithe~ eoaversation..

34 LEPFLER later 'dis.ooiz,sr.s,_t,. throughaPubho hitermation-tequest‘on '*f
or aboa:'Apri_i 2_1:5`*,- 12:<1'15.11he.4<_1.icaaons made by Weoi)'i were mcrae in a
manner:ptdte.cting the statements made by_ADAMSand S_CHAF.ER Whi'le,. '
lib¢lihg file statements made ‘by"L@EFFLER n

3553 _Duzln`g this meetirlg_j:SCHAFER=afld ADAMS harassed', biillieda a.'d'd l
weatened,LOBEELEK. ' v

‘3.6,. 'Gn..:.o;r assail-seaway 951 .20.15., LOEFFLBR'receivés. a letter of

dismissal from SCHAF E'R-. and ADAMS

:‘cOMPLAINr - a

 

-l> L»-l l\.)

~ 00 \l G\ Ll\

 

 

 

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3~7. on or about Februaty- 1;1“1, 2015, LO~EFFLER conaca-CHRIS'IINE
YiBo.,_ BUr'rE .oo`L_LEGE HUMAN RECQURCES (hereaa¢r ‘“YEQ=’), files
a grievance,.and informs YEO about .condu.,¢l;, Qf`SCHAFER _andADAMS._

38. LOEFFLER tells YEO that SCHAFER and ADAMS- are neglecting
their duties as; educators,_ harassing him, Violating BUTTE~.policy and
procedures d

391 _LQEE"FL_ER also'mforms _YEO he is being discriminated against due
to his Veteran stams,,_

401 rosarr~_aa expiain.s; re Yao_,~ sCHAPER aaa ADAMS have maas
derogatory and .belittling;statements regarng his service

41. YEO"jnt`orms' LCEPFLER an investigation \'v._ill ;l)_'e conducted

42., Oni-:or about Maroh il_l.th, 2`015, YE_O leaves LOEFFLER a_voicemail.
irr:re’gards to the :disolimjnati’c)jnFin§i,/.,estifgat`ii"ont_f"""l?'Wa§jlt.'ed"'to" let §'{._'Q`uilcnow'thati" z
I’ne~eompleted tire investigarien-as--.'faras ;iiise;i:nizrarion. Uzn, probably w'ifl_li
come asa smpris.e~rte you thrift 'di`d‘}not itasaay evidence to snpporc~that.
there Wa`s any discrimination I`Wante‘dr_.you -to1know, `l"'spo`l<e to your

-elas"smates and they all spoke Very highly of-you;”

_ .coMPLAmr--s

 

 

 

'coMPLAn§Ir._ 1'0;

 

 

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43_. Mar_eh 1241 2015, CA'S_EY CARLSON, BUTTE COLLEGE CYHLEF _
`QF POLICE (Her'eafter" “CARLSON""),- arrives at LOEFFLER"S homes
CA.RLSON Stat'es he is there as a courtesy

44.. 'CARLS.GN give'LOEF_F-'LER consent to record'the`ir conversation

45. CA'LRS'ON explains SCHAFER, S_NHTH, and _CUNEO fare “in. fear of '
Th€ir lif¢',z"""" fQI 199th L'EK is =a"‘"gnn -owner.’"

46_, '_He=‘-advises- LQEFFLER to stay away from the Allied H_ealth building _
(Hereaféee ‘AHPS’) on BUTTE campus

47`. On-.or'abollt Feb'ruar'y l'Gth',. 2015, LOEFFLER appeals his.di_smissa'l to

-48~ anraboutMarchzd 2015 §LQEFFL-,Easahmia;;hisheard appeal
W`i`th supporting evidence n

42 Oa_ cramer March 26th 2'01,5`,..LoarrLa1a names ana small aim t

V_.` '1 Smformmg his date of`;appe.'al is scheduled fort A_pri"l iZ'G"&T_,. Z"ZO'.l:§...

 

..5 o on er about Mareh 31,, 2~01~'5:, ar 11~:3.0 ;am,'LoEaFLR was ‘Noarled by
CHASE ’WAGNER~(hereafter"""WAGNER"’)'z a former s'tudent[c-adet- of'
BUTTE Co;l;le__ge_s 581th F:ire~Ac_ade_my, about “Warning'_posters” being`_p'laoed

aroundBUTTEcampus

 

 

 

 

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51. LOEFFLER contacts CARLSO_N'about#thes;e.~posters, C-AR_LS.ON
informed LOEEPLER lie would take down the'posters_,. and stated he
instructed SCHAFER .a_nd~ A_D_AMS llot to post them publicly

5"'»2_. On.ApI_il l$t, 20'1.5‘, at 6;28 pm, LOEFFLER_ receives 'a`n email from
ADAMS,. expressinglssremstaremem baskin to BUTTE PARAME_DIC
program, along Witliff's'éve"ral r`_e'quired~i_mpo'sitions, fNot only Wel'e 4_tlle'sei:~tasl<;;`s.f
bur'-i<l’ensonl`e,- they Were also discriminating and illsulti'llg. l

53 LQEPFLER:Was still.»heitlg harassed with additional ellor.es, Wh`en`
;none QfWhi`.C'h;`i'_S_j siade mBUTT_E Polieies, "Pfo`<`:'."edures, and program
‘sylla:bljls;-_..

54 On ;.<).r=:-ab,@u: Aprs ssi 526;1"5;, LoEFsLER.i;e:celv:e-s s ph¢se call from

555. RENVILLEmf@msLOEFFi;ER meie~wi"li.;n¢t bea healing
;gg;l_dueted because 955 his rsisstatemeiit, LOEFFLER.;r€que'stS -=th.€ hearing
-scireduied:`for.April 521£)1&,.:2"0=1'5.,,_46 ensue.. -

56 - 'LOEFELER tells R_ENVILLE'];;¢ ~warl_ted,- “answersi to Wlly pictures
were being'~posted,.alld wlly tllere Wasf.'r_l_o. accountability for'~the actions land .
conduct perf_citr'ned`bjz BUTIEE~.Q'ollege faculty??l

571 RE j~' LE éel£iie_cllllis request-toy pursue `tlle healing

 

_-COh/fPLAlNT-ll

 

 

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58, ne er eeeur' April_ 1352 201;5, `LQEFFLER, earle a meeting with
RENV?LEEFand ADAMS

5 9. LOEFFLER expressed his concerns pertaining to his additional -_
demands of his return.

-60. Duril'lg_ the meetingeLQEFFLER states, “tllis is unfair~,. lf do not agree _
meeting 'witfh' a mentor., f`My prefessionalism is Wllat§broaght me back
'(BUTTE PAR~.AMJEDIC). l.do'n"t_ need a mentor to help improve my
pro'fessionalism;”

61... ,`LQEFELER opposed all additional ineorrvenienees_,§ end wanted-rra get
beele:ite;hi'e Ciiriieal Re:eii:oes male iieid.. n

621 .`L©EFFLER asa'.r¢qliesfé.d~ a farmlal 16t't6r 9£;1'66.1666101_1. to .b..6 drafted",
addressing the ?i'fs"sn'e of defan‘§i'llg posters- being-'pla€:ie,d'zaround BUT'_TE.

63l ADAMS informed blm therewoald=bfe.no;16tt6_r Qf_redaetion-and did '.
nei'Wave’-ihe. additionalreqairemenis.

64 O`n 0r'- about Apr_'jl 2151 .2;0~15, LOE_FFLER received his report horn a 3
pris)r"requiest- 0f'pab1i`6 ',in.f.€)nnati'on.

65'. =DUS.TB>I REESE, EXecutiVe Ass'i'sfant' to-'tll`e president of BUTTE
C;“OLLEGE ene.ehe-BOARD ef"raUerEs. thereafter “REESE”). subleased

216 5 pages;jof»"email$i‘that transpired.'be_tween BUTTECOLLEGE facult§_/'._

COMPLANT - 12

 

 

 

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law

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=684. _R-_ENVILLE ridiculed, LO'EFFLER;’S concerns and 'sent.him' to 'class.

l v 7`.1. "‘Illat:day SMITH came ftc ='~t'he hospital to ecndl;`lot;a~"-‘site§ Vi'sit,:” an

COMPLAINT -'.-13`:

 

 

66. on er eisen Aprn 23“1 20.15_, LOEFFLER bed a meeting with
RENVRLE LCEFFLER expressed his concern pertaining to the enlails.
that had transpired between BUTTE faculty, and Wa's fearful of being
dismissed again '

617., Th'e'ernails between SCHAFER, SMIIH, CUNEO, ADAMS, steered .
iLOE"I-P.FLER to believe they Would’,. again conspire to hane'.LOEFFLE-R

termina“ted_;from the program..

6`9.. Qn Qfl.' about May` 4th~_, ,"-_2§(5)_.15_, .L"'Q'E:FFLER resumed his elil`.li`cal rotation `
at ENLOE `HO SPITAL ~(herea-”fter“"'EN'l`-JCE”} ir'iorr'r 069 (_}:.-.l 800_~.
7:.0; On~ or about May ;6-“1, 20 l..”$;-,.fLQ"EPEL-ER continued his clinical rotation

eiENLoEF'.;(060.0-'»'1800).-.

 

occasion vvliere_; aBUTTE P ;' if `D.rC-, insaneter»'weulé visira clinical siie-.
to follow“up; on _a Student’s progression and correct any negative feedback
and act as an academic `liai"i_s'on,

72 SMTHstoppedbyENLOE, ialk.€d Wlth fellow medical personnel '

Working With LOEF'F_LER, found'no' discrep'ancies, and left shortly allen

 

 

 

 

 

 

 

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7.3'- on May 32 -.201.5, 'LoEFFL_ER returns to nash his ann marion a
n ENLOE..

74. At 017 about 083 O,~ .TOH£\_T WEST (hereai°t`er"‘WEST”_,) :'a charge nurse
for the ENLOE~ EMERGENCY DEP`AR'HVIENT, approaches LOE_F.FLER
and accuses him of being absent for "‘the past hour and a half,” and threatens '
to contact the.di'r_ectcr of BUTI'E PARAMEDIC l

75 LOEFFLER.;ap<_)jlogizes_,,-:and_ states.j he was present :in.the ENLOE
`EMERGENCY DEPARTM:ENT

'75--. LOE_EFLER,.in§gQGd .fai`th-, informs WEST thatSCHAFER Wa'_s' no

 

*Icnger the-duectorofBUTI‘EP= " -~ ’i` :DIC,_;anaSI\/HTH was cunenny
~'511"`_11_1'§. that role.

'7-7. LOEFFLER-, 'ens'l'ir'ed-thls "by"'pr.'ovi_ding: WEST Wi`th SMITH"S contact
'ihfennation.

73 . ShOrleal°f€rfh@€X<>halla€@fmf<>rmatlcnLOEPFLERrecezveda
phen`e? ca11 .b"y' SMI'IHmstructznghlm ~tc_,. """:'Leave ENLOE EMERGENCY
ROOM,-” LOE-`_EFLER ‘Ieft and "-W.€nt to his residence

79 iL'ate'ri that-day at 1413 LQEFFLE'R receives a Voicemail from SMIHI
stating "*pending.‘reviewy,_ We’re (BUTTEPARAMEDIC) going to be taking "

you off clinical rotations,. starting immediately As ofnght.now you are

coMPLAnII§ 14

 

 

 

 

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being suspended &,om the Pal'lamedic Pro_gtam_, including the field internship;
and W`e (ADAMS;) are scheduling a meeting on Tuesd'ay May 12th at l'.O?>;O.”'.

80. On or about May thh, 2015, LOEFFLE-R attended the meeting n
established by Sl\/HTH, and requested CARLSON tube present

81. once LOEFFLE_R aimed he termed sham end ADAMS that he
W.ould be exercising his _l.ilghtftjo remain._~'s_ilent. b

32~ The meeting_.ended fshort'ly.aner.

:33. LoEFFLER exereieed his 5“‘ amendmth right iii fear et aiding
ADAMS ,.e.ed sMnH; fin eerreberergien with.ELNoE EMsReENc-Y
ROOM sia-an '

84. LOEFFLER wee aware ef;eeeneez;ien,ADAi\/ished, ana emenny
'.has", 'W"ith ENI@E.Ffor-she '_i"s»;'amel.liher tin-the B9ARD FTRUSTBES

'85. ?LOEEFLER was also the only individual at the 'meeting:who. Was'~
'Presenjt during ih,€.~ mciii'€él_lt~:_

'36. 'LOEPFLER learned from his previous -dismissai.,..ewhere he wrote.=an
in-depth- appeal letter Whic_h stated facts ;and»eited BUT.TE 'C9LLEGE
PQLICY and Califcr'n'ia Edncational .codes,;woiild fallfupon death ears, and
give ADAMseed santa ee.erehiieeeirei eiee.prim fe aerea-the freeze

their ‘fa,Vor.-

.coMPLAmT - 15

 

 

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93 B;otlrreque,sts.=were-denied

COMPLA]NT -~ 16

 

 

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8 '_7. La'ter that day _LOEFFLER received ~a memo of his “E<`inal `Dis'missal.”

881 on m about May _i.s"h,. 201__5_,.LoEFELER-~app¢al¢d ADAMs dismissal
Via e-rnail to `VANSKIKE

891 ADAMS “F-inal Dismissal” memo had statements attached from _a
several ENLCE employees

90. ENLOEEmployee`s LOEFFLE_R'had no contact Wi`th or knowledge of
their role at ENLOE during his clinical rotations~.

:9'171:. 1011 of about May 2`1`$,.'2"105,_. In preparation for LOEFF~LER’s future

.f'_l RECOURCES and

 

.-heming,LOEEFLER:wenttoE-LOE~‘ _4

 

:eespeet’fulljy“aeq;iestediftheunf" " `if‘arpersennelw<)uldagreeto. submit-tile "
same statements m ADAMS drafted Fmal Dismissal’*'.-on ai witten affidavit
mae previ¢:e a may aims msp'iai:

192;_ S€)_mé d£ith¢: allegations .ma<'ie-:f:in;ihe :“‘Einal.jDismilssal” had inaccurate=.

iiiu;strati`on$»,- Whieh' LOEFPLER planed; en addressing in his defense..

94. LO.EEFLER is~'cmeritly»'unawaze o,f;the females name and point of

contact

 

 

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95. After the meeting LO_EFFLER recalled the “lnformation Deslc,”
located at the main entrance ofENLOE had maps of the hospital_, and
Obtain_ed one by one of the Volunteers.

96. 'LOEFFLER accli_tnated himself, with map in band, and proceeded
down the main hallway

97 ‘Short;ly" alder-obtaining the map, LOEFFLER Was approached '('_.fcio'm-
`behind) by tmENLOE SECURITY GUARD (hereafter"‘GUARD' l”).

198. GUARD 1. asked, “"-'Ar_e you MATTI-IEW LOEFFLER?” LOEFFLER
noticed GUARD l Was~:'hold`iu_g_j the Sa'rne‘ poster, ftcrn.BUl`TE

99 LOEFFLER teplfie'd,.¢“¢iicer? ado :s.uspeet;.me o'fia;:ctime?= Am 1 being
;detained§. 'forl dol not consent.to anytsearc'hes-' of `seizt`ires."

"l'OO. ' ZGUARD l irepilies;, "‘No, but you need tie 'leave.”

'-11;(;‘)@1:~.; LQEEFLEH...eomp?lies with his demands and makes his-way out;~the
main entrance_-,, WitbGU ..1 followinghnn

~102. _ ` -L¢EFPLE'-R.:makes his way to M'a'gnoiiafAve, :an'd crosses thei-
crosswalk

103. LOEFFLER forgets to ask GUAR-D 1-, his ~ccntact.informa`tion. and
~calmly W'alks fback.-"in.tlte direction :of"the guard', Wh_il'e` fielding a pen land

paper.

‘ CO_MPLAM_T - ~17

 

 

 

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10'4. Once LOEFFLER makes it halfway across the crosswalk, GUARD `l
-Icll,S-bim' t_O, ‘~‘Stay there., don’-t come any clos'er;'?’

105._ LOEFFLER complies wlth`the demand, despite S.tandjn`g_mthe:. middle
cf the street,and asks GUARD 1, "'""Can I`h'ave- your name -'an‘d badge
number?”'

'1.05. GUARD 1 .ans'wers-, ‘llavier, badge-number 26 (be_r_eafter_ ‘§JAVIER:);."§' l
LUEFFLEK.lons down to wutc when a second security guard €Hereafter
“GUARD 2”_) tackles".LOEFPl}ER.

1107. LOEFFLER St`ill .dOeS; not know the flame of GUARD 2-.

108 GUARD 2starts mestlmg with LOEFPLERsnght annand pulls
LOEEFLER.;;oht dtthe brass walk while prompting JAVIER, "“.Grah his other
m gill

109 LOEFFLERis 'betlltiélfléd hy-'-the conftoiltatien and istalt$=‘;y€llins,<-
Wh§’§113111`»1battledetained7 Whatareyou domg‘> Why am l being
detained?”

1f_1 0-. JAVIER and GUARD 12 fail to respond to LOEFFLER"$ queriesa

1`._11_..LOEFFLER1splaCedl_pr_one on the ground_, and ,-.det.ailled.

 

 

 

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112_. .Durin'g. the detainment LOEFFLER’s right shoulder ~was dislocat_ed,.
and a severe contusion was formed on his cervical spine from the force of
JAVIER’s knee.

113. .TAVIER and GUARD -2?_ then made 'a radio report t`o ENLOE staff

114. At this point a_`l_arge crowd surrounded LOEFF.LER, one of the staff
members MARK K`IT'I"U (hereafter""_K§ITW?) told LOE_FFLER, ““Y=ou
know yod’re not supposed to be herel.”

,115,. L`OEFFLER ‘had~llo.`jl§nowlli¢dge Of§f_h'ere."be’ingi~any restrictions placed '
on him, and replied,j“_No l dori.’ll_"" d

116_:. Qm er .abiout_.$_- minutes after‘the-..detiainmemt? "CHIFCO POLl`CE' arrived l
on scene and qnestion_`€.`d JAVIER and GUARDZ :o"n ther-sequence of events ,_

1’1"7. GUARD- 2 Siai€d, cl‘H'€ gl'abb"€dil`ly arm:”

i l's;. orricsil onrkss(hermrter "“DUFREE”) responds “'oh_,_ sp
hatf€lf'-y."’

1;1`_9'. l ies-officer l")UPREE`-continneslhis report KIT’I'U Warms both .ofllcers,
"‘be' carellil-, he might"have a ’gun.o`n him”

'120. DUFREE and his partner (`Oflicers name is 'url`knowll') both search
LOEFFLER.agein for any theme L`OEEPLE;R was not in'possessiom of a

Efear`m.

COMPLA.IN'I` - 19

 

 

 

 

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1.2`1. .A'fter the officers gather information from Various'ENLO"E staff
members (PLAINTIPP is still unaware of all known personnel taken in the
repoif, and has been denied access to the report by _C}HCO `POLICE).

122. Officer DUFREE approaches LOEFFL'ER and asks, “What"s going
on?”

1235. LGEFFLE-R replies "'"I. dQ'-Ilot consent toy anys.e.arcl'ies or ’s'e'izi'ire's,_ and;
l`Woijild like to have legal representation presier While-` being ihterrogated.” l

124. .DUP.REE ignores Loiiiari;i~:iii"sk ii‘gh;rs;, ana continues m question him
asheme off'?the microphone from his radio fplac§d:.:` »..OI..l..hi‘S right bip)_'.

_125. DUI"REE asks"LOEFFLER, “Whei“fe is yourr'car?’~"

12.6-. LOEFPLER remamssilenf n

l*Z?. DUFREE "then_ removes LOEFELER’*s'ke§/is.from his pocket and...use`s.

: ihe keys w iéénfi_'fy _-ma. mcess.i;caaiinhai’.s~vehicie

128 LOEFPLERis therifurriedovertoCI-HCQ POLICE DEPAR"I'NIENT,
While. being escorted by DUPREE.

'1'1-`2€91. DUFREE presents LQEF._FLER;with ~a;dceumeiit.

13:0.. DUFREE explains, this can go .o`n_'e or two#"W`ay“s-: 'Yoifi sign fbis piece '

of paper, which states you can never come back here,_, and We let you go;. ._O__r_,

C.OMPLAII\lT - 20

 

 

 

 

 

 

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you don’t sign and you get to spend the night;iin an orange jumpsuit at
centh (___BUT'I_E COUNTY I.A]L)`, While you wait for your arraignment

‘ 1311 . LOEFFLER,_reques to sig;:i‘d'ie drafted dominth and placed in the
back if a police cruiser. .

13-2-. Approximat`ely '1 53 minutes jlafer,‘ DUFR_EE .and_. his partner arrive to.
fh¢ir vehicle (L.GEI?`EL-ER ill the bacil§). and f€ills- L`}QEEBLER;, “not only are f
you.;._getting charged with battery, you'aiso- earned yourself `a gun charge-
(DUFREE displays LOEFFLER’$ registeredi.GL'O.CK.19.€:).”

133. LOEFFLER..breaksi£his silenc:e,, under duress, and informs both
'o`fi':i<:ers, “'I have 35 C`CW §_e'rmit'~!;"i’

'1"'34. 'B-QM officers look at each-ether mcenid's*ien, DUFREE gets but cf'the_
cruiser, opens fhc trunl<-bf`tli¢ Ca`;r~, and:di~scovers~.LOEFFLER’:s- Valid CCW .l:
permit 'infhis wallet -'and,igno'res his previous ,Statement... n

1,'3"-5, .B'efer'e. LOEFELER,- DUFREE, aliid his parmer ie`z£'i~z'e~:the. 'Sc'ene';,_
LOEFFLER asks DUFREE, “Wilere .Was' year probable cause to search my
vehicle without my consent?”

136a DUE-KEE explains'~fo-.hiS..probab'l_e”-=Qause»was formed iby"the

information he ga&_ier¢d from the ;sce'nz¢.

coMPLAIN`T - 211

 

 

 

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m»._-o\o‘..oo~\lo\t_)_\-§w\\)--~Q

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1382 Both officers replied :“‘no_'."” '

\D 0`0 \l O\ U\ -l>~ 'l.).'l

'_‘1;4;(3._ On` 'erf::abeut‘.May'_iZZ“d,-. 2011§.5, LOEFPLER received a formal letter

. coMPLAM 122

 

 

137. ones way 10 csio. POLICE DEPARM_EN'I, LoEFFLER asked
DUFREE and his ;PARINEK,~ “Is there anything important _you.need to tell

-.m`e' that you haven’t told me so far?"’

139.. LOEFELER was never delivered his Mirahda Righ`ts from any sworn

;pe'aee_..'of)‘;icer? or person performing in laima`m_'_l_er‘ to uphold the ;_l__aW_._

hom RENVILLE, S;f'<lfiiig LOEFFL.ER:W&S being placed On “'S'Dmmai'i"ly
.S"!:l`S.P€nsiori"'"'-due -'to" "FA"I:I__eged actions at.ENLOE MEDICAL CENTER on
May 21 2015

`LE explaiied fee Summanly 'Si'u__sp_e;:s'ion"* ;wasj

 

141 Furfhennore, RE
enforced due-'»,t_o ‘vi'olaii`:on's;.in BUTTE `:B~oard PoiieY!Administfafive'
_P;ocedure ,SiS.DO;miscoiiduet;

S prOhlblted LEFFLERJ§‘QBL proceedmgwlthhl$ €dUCBUOH,

 

while discounng his 431~'amendmem:11ight of due-'proc.ess..
143. Fm~t_hennorve,, violating .Ca`lii£¢mi“a Edqcazfijonal '_G_ode‘.§48900($)(2'0'09),
"‘A pupil shall not ibe suspended ori~'expelfled for any o£the-.aefs enumerated

in this section_, unless that aet.-is;rela’cetd m s_eho"<')j_l activi%y or schoel

 

so-eo\xe\u»-h

 

 

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attendance occurring Within a:school under the jurisdiction of the
superintendent ofi€hje school distriet_.,...”

144. LGEFFLER was not a student ofB'U"l"l`_E» at time, due to his dismissal

1'45'. ,LOEFFLER Contacted-:REN`VELE Via_ emaijl .andexpre,ss_ed his
concerns

14-6. on or show my 2‘%,. 2015 LoEsrLER smaer hamlin
regardwg..the":"§.ummarily' Slispehsion” and.irel__eases..a memorandum diem
'B:UTTE. CO.UTY DISTRICTATI‘ORNEY exhibifing.the= dropped charges

147. D_espit`e the pertinent doeum`e'nr,_ REN`WLLE continues ton suspend
LOE'FFLER.

121-si neff aboufaffguf;f; 12“1201:5..», LOEFPLER fred fwo. police .fep'offs
at CPHCO;poJ‘iee=‘deparmaenti-.; -

149 One report pertaining:to the assault and..`batt.ery, Uh'lawful
implisomnenffrifrom ENLOEhosnital_.

150 -Another_ requesting afr-internal inyesdgafionf)n DUFREE for fha
illegal search and seizure of LOEFFLERS Vehicle.

15 1. On.- or abont.December 151 2015, LOEFELER receives a.letter from

BIL°LY` ALDRID`.GE ('CHICC POLICELIEU'[ENANT,

COMP-LA.B`~IT ~ 23

 

owr~)

\D. °°, \! 01 U\

 

 

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faith, disgrace, and destroy the integrity of the Plaintiff. The plaintiff is
informed and believes 111 truth and fact, the defendants acted 'without due
regard,. for the Plaintiff never gave consent Fur_thermore:, the Plaintiff is
informed and believes the defendants knew the Plaint`iff had not,. committed
and actions Warranth'ig._ the publication oftlns" Pho'to, thereby justifying an
award cf pmi/five damages in an amount according,to proof

176.. AS a proximate cause o'f_{l)l_ail_i'tl_ff5 s reliance upon..BUl"I_'E to maintain

a,safe- and:PrO'f,€S.Sional educational environment,, and subsequent conduct by

each of..the defendants,~. I’l»a.`intiff suffered economic losses in miamounf fo be

proven at trial

`1,77.. l'n_ performing the acts herein alle"ge’d,l Defendants acted fraudulently,
maliciously, and oppressiver within the-meaningz'of‘toi't.~. ]jisire'gardihg the
P.Iain_fiff’ s.'wel'fare and civil lights while .snidyin'g at BUTTE COLLEGE.,_
viewing eat own code sen cAi'c N@.. 3791_;, 1730 rn@ward -v.
is<inanel.),_ 1861 i(ans¢-oe y;.Reader:-S bigesf)`

WHEREFORE, `Pl`ainti_'ff seeks relief as set fourth below

sE.coNn .CAUSE cr Ac.-rf_o_N

'.FALSE LEGHT
(as to the Defe.nd_ants Butte Coinniunity College;- Be_linda. Schaf`er,

n _Denise Adams, Michael Snn`th, Allan Ren`Ville, Mich'elle Qumt_-; Enl`oe Hos'pital)

COI\'IIPLA_U~IT '- 28'

 

 

 

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1-78._ Pl_aintiff repeat and incorporate by reference Paragraplis_ l through 172
and paiagi:aphsj 1714~ through 253 of this complaint ,as,thou_g`h.fnlly Set fourth
'lierein. di 1

179. in perfoming me acts of pubii¢iy deeming the Piaimiffin false iighi,
the defendants displayed gross negligence with severe toi‘t.v Th_e`i"efore,
Justifying the actions under the Re'statein'ent'('s’eeond) of torts §‘ 652A-`E
(19.97)i 'Tl:i;e»sub_s.eq_l.l.ent._.conduet of the Defeiidants caused the Plainti;ff to
economical losses .in'.the. amount to he proven ;at` ti‘ial.-

Wl-lEREEORE thei_plaintiff' seeks relief set feni'.'tli below.

Ti~nRr) C-_-Aiisii oF ACiiON

NEGMGENCE
§As 'to' All.Defendants}

l_;.SU'_._ - 'Pla;intiffrepeat and}‘i'lncoq_zoratelbyiefe;eiicez§a_ragraph_s 1_tt)rough_'172

" j ~' f §'2"5`3 ':of..thi’s', ei’ornp"l"aiiit a`s=itliough fiiily set fourth

 

`18‘~'1.. _The harm ';exe'cijited by D`efeiidants',- and each of'the'n:i,. Was"not readily

discovered `bjy Pl§mt;ff; _

' coMi>.LAn'~ii - 29

 

 

 

 

 

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182. Def'endaiits, and each of them, owed a duty of responsibility to
Pla'_intiifwhi_le acting as fiduciaries for Plai`ii_tiffs, and Defendant's, and each
of theni, have breach that duty ofre_spol_l$ibi_lity.

1831 As a result of the Defeiidants’ negl-i__gfence,‘l°laintiff was physically,
financially, emotionally injured

184. The;‘$ubseqiient conduct ~ofihe Defendants caused the Plaintii§t`to
economical losses in.- the amount to be proven at"trial,,

WHEREFORE the plaintiff seeks l_r`e_"lief set:jfourth l`oel'c$>,\')v.l

ABUSE 9F P9WER _(_'42 ..USC 1983) v
(-A`-s to all..DefelidaHts)

118-553 'Plainni”:f'iep:eat':'andfincorporateby'.r.efeie'nee-Paiagiaphs i through 1172
and paragsaplis 1174 threug_h 253 cf’ibis .ecmpla"int.as-thciign finly¢ set fourth
herein v

~l86'.y 'I`he harm executed by'Defendants, and each ..of them, was not:readily
discovered’by`l,?;laintif£

l.8§7. Defen‘dants, andeth ofthe_in,, owed a j_d"u_tv off responsibility endowed

by their designation to Plaintiff' while acting as fiduciaries for Plaintif_t`. `Tlie

COM_PLAINT - 30

 

 

 

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CO_MPLAIN'I` -- 24

 

 

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ADMJ]\TISTRA'I“.{VE DIVISION) replying to the complaint regarding the
search and seizure

152-,. on or about Augusr 12“1, 2015, LoEFFLER status of“summaaiy
.Suspension” is revoked

1531. On. or about August, LOEFFLER became aware of defaining
allegations `sp'readiiig"tl_iiongh'BUT”l'E, and the continual lib".e`liii'g publication
of his Pictur'e. k

154._ in an_:emaii scm DoNALD BEASLEY~hereafter"‘-‘;BEASLEY’-")~re
CARLSON'-, ADAl\/l_S-, and additional faculty,~.`BEASLE'Y states, “-B ecause ci
the 'O'f£ie.er iSafetv`§Bulietni.Released by;Cl:HCO"PD. l believe there still
exists a*eoncerns-that‘lii's ¢(LDEFFLER')' p'_`r’ofiie'~'may be consistent with fthat.'
of ian "Active Shooter,’ with specific concerns regardingjretaliation here on
campns~, especially'iii fth"e Al-lP.S 'Buildii'ig_.:"’

il;5j5.l " Furthennore, LGEFFLER discovers an cma-il ls'ent'by ADAMS to
multiple recipients with the attached _ljliiot_`c--depifcfin_gj him Fas,-'a' threat..

15.6§. I§OEFFLER< consult_s-' CARLSON about the statements made nom

BEASLE“Y and voices his concern

 

.\'D'o'o'\la\i.nisu)\\)»-J

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COMP-LAINT' - 25

 

 

157.. LO_EFF_LER explains he fears all theses allegations are dangerousg
herreaeous_, and win iea;d the publie, BU.TTE faeuiry, and BUTTE students v
deeming he is a, “Credible Tlireat`.” (ClV,l708.7.)

158. LOEFFLER’s dismissal hearing nom BUT'IE .PARAL/iEDIC 'Was
conducted on G'ctolier-Zch, 2_0.15.,

1595. Pii_.oi; tie the hearmgLOEFFLER made .severaij;eqaesis to
RENVRLE and'CLIN'.l`ON SLAUGHTER;,(-hereafter ‘°S'LAUGHTER”)
requesting legal repie's“entation-,_ and that the hea_fing_.b_e, publi'c,_ both requests l
were denied l

_169. .Duzing'»iliehearing,..iiearjsey<evi<ienee wasiised'friom employees ar n
ENLOE: HOSPITAL

l;‘6"l. .LOEFFLER `“.ojb`__i'_eeted”-`tofthe evidence givens stating the 'Written

 

testimony g‘¥Disaiei:;iiles”;‘féQm.WEST and PA :.‘

 

HOSPITAL EWRGENCYDEPAR’IWNT AGER (hereaft€r
"‘AREN ` }"'~’).,_~Wete "‘inadmiss'ible, for the Witles's‘ness are not present for-me to
Cl’-OS_S- C`Xamifll¢., sandthese~;statemen`ts_must be?.'s'ig`ii'ied on'»_ar Wliitten affidavit.”'

162. SLAUGHI'ER,_ the hearing ofhcer (at -the_ itiine:), discounted the

objection and.~<_:_ontinued With the-hearing

 

 

 

 

 

l\.)

\J O\ v\ -P~

 

 

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1631 As the hearing eontinued,_ ADAMS' made an outrageous comment
during her opening testimony ADAMS_ continues to describe LOEFFLEK
asking 'her'out on a “da_te`.” and then continues onto pertinent issues of the
hearing

l64. After all testimony is given LOEFFLER,begins to cross examine

1.65.. LOEFFLER asl'<`:s= -ADAMS, cl‘lli"?l§ia`t~~is your relationship With WEST
(`th"e charge nurse Who asked me to -b.e removed from .ENLOE
minnech nooM-_)j:);”

166 LEFPLERI<HQWSADAMS nazi-asian memlier:<)fENLOE?-s »

 

BOARD 'OF TRUSTEES :and-fwanted*"ti)?ad;dress AD‘
BUT'IE iand`iENI-,OE,. but W.as-.halted by her'rno.tion to remain silent

_1_6'7._; iA)AMS'.;iefiis-es .-t.o. ibe.' further'e'r'oss-examfined by L®EFFLER and
says “I-’II leave if linave ie':’

163. sL-AUGHTER games her rao-amana asks if Ai)AMs would ake to

crojss-'exam;ine~,L©l-EFFLER,_ A_DAI\/IS d‘e'el.ines.-

1.6.9. On or about November-.ST§`,_.Q‘O`:lS, LC§E'FFIER receives the `Verdi'ct to -

uphold his dismissal

c`oMPLAn~ir - 26

S: relationship with

 

 

 

 

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. 170._ .LOEFFLER requests an appeal to the DISTRICT fOF 'B`UTTE
COLLEGE,, the request is denied
171. LOEFF_LER submits multiple complaints to B.UT"'IE -COLEGE
HUMAN RESOURCES;,_.regarding the defamation of _c'ha'racter'(p'ictures,.
.emails, false statements,_ discrimination, 'bullyi_ng, and Violati'on of ADA
»i)Oli<:>y`)-
l`72.,. None,"toffbis date, 'liave'been resolved

(1?/3. O"n or about Septembei ’1;{5-“‘; 2015 LQEPFLER.has -a.'meefingwi:tb `CA

lii`rs"t C;ause of Act-ioii;

nissan/ration or cummins
'(_as to all Defendant_s)".

174-._. Plziinfiff repeat and _"in`c`:'_orpor!ate§ by reference Paragraphs l through 172-
and paragraphs 174through 253 oftbisc@mplamt asthough italy set fourth
herein

l']$.. Plainfiff is informed and..be'lieves thereon allege that all times in truth
and fact/the defendants""` actions-were malicious and destructive by nature
The publication and distribution of the picnir._e ofLUEPELER Warnmg and

directing the public for contact BUTTE CAl\/IPUS POLICE, Wa's done in bad

COMPLAINT ~ 27

 

 

 

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’ COMP;L~AINT- 31

 

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Defendants under the color Of any stame, ordinanceq regulation, state laW',_
constitutional law,. abused their.authoiity by depriving the Plainfiff"s Civil
and Constitutional rights Defendants, and each of them, have breach that
duty of authority; Ret`erence # fbiou__gh-#§

WHEREFORE the plaintiff seeks relief set fotu"th below

F'tFTH CAUS~E"- oF A;_cii;rioN
HARASSMENT H*I'EDUCATIONAL USTITUTION
.Cas to the Defenciants_`Butt_e 'Community ..Coll,ege; B._el_inda »_S'chafer,
De'nise Adams', Michael -’S'Init_h-,~_ Allan Kenville,..Michelle-Quni`t, Lis`a Befrn'al-
,WO.O'd.).

.1':‘8‘8’.. Plaintilff‘repeat andiiieorporate£byzreference Paragraph‘s: 1,, through '1`?7*-2
andparagraphs 1714 through 253 -of fbi"s complaint as;though fully-set fourth n
herein

189. The harm execute'd;by `D.efendanfs, and each 'oithem, Was not readily
discovered by Pl,aintiff`.'

190. -_SCHA-FFER publicly defarning LOEFELER,.thoUgh the consent of

her ,Superi_or ADAMS .'(_Refe_rence)'

 

 

 

 

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' `191. .ADAMS continual endorsement of harassing and.defaniing»
LOEFFLER though her P<).Si’donv as Dean ofBUTTE` COI;LEGE and Bo'ard .
of Trustee Member of Enl_oe Hospital. (Reference)

192. ADAM_S subjecting L-OEFFLER to additional sanctions ;upo'n his
reinstatement RENVILLE supporting the sanctions.. (R;eference)

lest sM'iTH, QU]NT WooD aiding in discriminating LoePL_ER by
presenting false stafernentsj,,.subinission.of false documents in assistance

1.94. WOOD and QUINT fabricated conversations made by LO;EFPLER,_ :
rand withheld dis.ceming;,s_tatemems .made;byi' SCHAFER:and.ADAMS-.,

1;9`5.'- - RENVTLI_L;E Smnmanly Susperiding"*»"i;_OEFELER. witneut~eanse,-
depriving his educational .Eeedom.

1-96;_;. .'I.`he:s`ubsequenti conduct of’fhe D'_efendant_s :are_.-iin violation of_; 'l§`it'l_e
34, Subch'apter.B, 'Subpai‘-'tA § .1`06.3`1. Ed_z_¢catz`ozz programs=or activities
~{S"ees_. ~9_Gl., -962-,, Education.Amendments.fof 41-9?72;?_. 86 Ste't 3731 3§74‘; 20
USC 1168.1.`., 1682) .T.fitl`e:.D'<ll o'f'the Education.~r¢"Amendments of'.1'97-;_52..

\;UEREFOR`E the .piainai=rs'eeks relieve fourth below

sizer :<;AUSE or _AoiiroN

CUNSPDACY
(AS to All Def_endants)

CO_MPLAINT - 32

 

 

 

 

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197_`, Plainfiff repeat and incorporate by reference Paiagraphs l through 172
and paragraphs 174 through 253 of this complaint as though fully set fourth
herein.

198.. Defendants, and each of them, unlawfully conspired to deprive
Pl_ainfiffs’ educational iights, civil 'ri_ghts, constitutional rights§ and personal
ieedorns by conspiring to engage in acfs§herei'n alleged,- including
fabricating and falsifying documents, fabricating and.falsifying testimony,
willfully and knowingly neglecting the use of proper educational
administrative »proce,dures, collaboratng in effort to defame .LQEEFLER
W`hile striping him of his civil liberties and constitutional rights

199. As' a proximate result of Defendan_ts .conspiracy, .Plaintiff has
~sustainedl_tinancialj losses-and suffered sjeVere.-=:emotional 'disti‘ess..

429`0,- ` "ln preformiug the acts herein alleged,;_‘ll)e'fendants: acted .ffa;udulently, l
maliciously, and opprcs._siwely_, within the significance of '.Civil 'Code section
32;94, thereby j notifying an;award up!to three ~'times the amount of any
general and special damages and punitive damages in an amount according _ t
to proof.

201. Defendants. Werc guilty of unrulines_s and oppression and fraud and
malice in the commission of the acts of abuse alleged herein CIV'._-l708._"_8~.b-

COMPLAIN'_I` -`33

 

b.)

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WHEREFORE the p`iaintiff seeks relief set fourth below

SEVEN'IH CAUSE' OF AC.TION
VICARIOUS RE SPONSIBILITY _
(As to '_a'll.Agency Defendants BUTTE COMI\/IUNITY COLLEGE,
ENLOE HOSPITAL,~ CH[CO P_(__)LI_CE~ DEPARTl\/IENT)

202., Plainti'ff repeat and incorporate 'hy‘referenc-.e' Paragraphs 1 through 172
and paragraphs '174"thr-,ough 253 of this compiaint';as" though fully set fourth
herein. z

203 .~ `The" Ag¢n¢¥ Defendants' fin _Prefo_rming the acts-herein -alleged,_Were
enhanced m had faini.;~and:rnaiidieu_S--i_rnent; 'I‘he principles hereg"aecif-.
j(reference) of the 'Plé;lnfi=ffs’ civil rights,.; constitutional rights, educational ’ '
rights are replication of the'-Agency they ‘=s.erve.

204 "l`he. De'fendants acts of:reteiliation _`€refe'reiiloe") and __Ag_en_cy lack of
discretion when’i<;nowledg'ealile.~a're responsible under inc doctrine lof
respondent superior are .guilty;. 'Civi_l C_.ode section 2338. _(L. Byron Cu'lver'"& .
Assoc_z`az‘es v. ...)'aoudz'lnd`usn*ial"& Trading C"orp, (1'991) l 'Cal.App..¢¥th 300__,
;3 04 [1_ ~eai.npa_ad. 68;'<:}_'~]1,;`_)

2051 As~'.'a proi§imate result of`Defend_ant-S_ failure to act~,_ Pl'a'intiff has

sustained financial losses and suffered severe emotional distress

COM_PLAM - 34

 

 

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WHEREFORE the plaintiff seeks relief set fourth below

E_IG'IH CA`USE'OF ACTION
INTENTIONAL INFLICTION OF EMOTIONAL DISTRE;S.S
' (as to the Defendants¢ But_te Comrnunity'Colleg_e; Belinda S'chafer,
Deni_se'Adam_s, .M_i'cha'el Smith, Allan Renville, Michelle»'Quint, Lisa Bernal'~
Woo€l)

2._0.6., Plaintiff repeat and incorporate by reference Par&graphs l through 172
-and~pa’rag{r`aphs 174 throughl_Z§$B' -ofthis;~oomplamt ‘_'as though fully set fourth
herein

20.7.~ -.Pleil.,l'til_°f`is informed and ,belieues'aud thereon allege D.efendants.’
conduct was intentional -=and" malicious and done for the purpose of ' causing
mandate _sufrerhuminaaon, mental anguish and emotional di‘seess..
Defen_dants_ conduct in sanctioning 'and~.endors~ir?ig_the actions "that.-were
U;§l.€'iertal<enfwas done with knowledge that'the.' Pla'in_tiff would suffer from
future employment, thereby increase emotional}disiress and 'Was done wdth

an unrestrained and reckless disregard of the consequences to the Plaintiff.'

..;-208;, As' a proximate result of the acts alleged aboye, the Plaintiff Sl.lff.ere_d_

humiliation, mental anguish, emotional distress, and bared the pecmiiary

COMPL,A]NT - 35

 

 

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COMFLAD\IT - 36

 

 

burden of having to movie to another county, all to Plai_ntif_f_s’ damages
according to proof,

1209. Def_endants were guilty of recklessness and oppression and hand and
malice in commission of the acts of abuse alleged herein.

210. 111 preforming;the act herein alleged Defendants.facted fraudulently
maliciously'_,;. and.oppr_essively,. widiinthe.meaning of"Civii` C'od;e section
3294, thereby justifying an award of punitive damages in an amount
according to proof.' l

WHEREFORE the plaintiff seeks"relief;set fourth below

baum CAUSE;¢P ~AC~'n.oN'_

oALr-.roiuula nassauon conn vioLAri;oNs
gas to the 'Dei`en'dants- Butce;C'ommunity'-‘C`o.liege)

21 1 P'lairlliiff"fepéai ”311<1 ibeolpo;rat€j by;li€ferencel?’aragraphs_ __l throug.`h.. 172
and paragraphs 1174 through 253 status complaint-as though fully set fourth
herein

212. _Plaintiff`is informed and believes and thereon allege D.efendan't's"
conduct was intentional and malicious and done for the purpose of '-c_ausing
Pl`aint_i`ii€to suffer humiliation,.nrenta`l;_angmsh .-ar'zd.. emotional distress The

following are the Defendants and'v`iolations'_;

 

 

 

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` 213. RENVELE"‘Summaiily Sus.pending”- the Plaintiff, is in violation of

COMPL_A`INT - 37

 

 

Case 2:16-cV-00961-.]A|\/|-AC Document 1-2 Filed O5/O5/16 Page 38 of 55

Calit`ornia Eduoational code 48900(111)(.$). 'Ihe Pl-aintiff Was_ not a “pupi_l” .at
the time of'tl.te, suspension

214. REN`VILLE, failed to conduct and organize and administrative
hearing for the P_laintiff in the appropriate time, Thi_s conductis in Viola'tion
of‘S`ee_tions: "'6';'6§27;:1'.:1, 66700 and 709`()1,_ Education lC_l;-"ode;._iand section 1‘1138,
Governi:nent‘Co’d"e. Reference: S‘ections 6625 0 et seq.¢ and `72011, Education
Code;; and sections 111 35 and 111.36.,4 Government Co_de. The Pl'aint_i.ff has
submitted-several formal j§grfievanc'es_;», none have been address _'at;;this current
time

211;5.. sL/tUCHtTER1 fallen to comply mmeovemmem code 1-15;~2"1:9.
Denyin.g the .Plaintiffs"" right to be represented by' eounsel, submitting
evidence and.'te'$tiinony lacking relevant:~de¢liét§ations'r, afndavits The
Defenic'iant"s `l'a¢"l<"of idlee-'re"t_ion;1 allowed hearsay-testimony to used against-
the Plaintif§ land is~n'ot supported by Seetion 527 of'~the Code of Ci`vil
Proeedulje. 4 .

`21.'6. I'he Pia_intiff i'S informed and believes the :c"o'n'duot-of the allege are in y
violation of"l_`.itle'~ 5;,, .Seotion"¢li`$',()l. Defendant's are guilty 1055 violating

procedures set fourth 't_o protect the Plaintift’ s oivi'l libraries and safeguard

 

 

 

 

 

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’ COM;PLAINT'- 38

 

 

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his constitutional rights 'Defendarits are guilty of falsii_"i'cation, distortion,
misrepresentation of information related to the Plaintiff. Det`enda'nts, are
guilty of conduct disrupting or interfering with the orderly process of a
student (Plaintii:`t) administrative proceeding, vtherebyjustifying an award of
punitive damages in an amount according to proof

WHEREFORE the plaintiff seeks relief ‘__set fomth below-

TENTH CAUSE OFAC'HON

_ nis;c' l tit A'-rioN (TA.i):.A')
.(`as: to the».Defendants But._te~C~"oIn'muIlit_._y College)=

 

217 Plaintiff repeat-and incorporate by'reference Panagraphs l through 172
and paragraphs ..1 74 through 253 of this complaint .-as 'though..ftilly- S'et fourth
herein

21 _3_,_ 'Blaint;f§isjnforme.d¢and_ believes :md'mereon allege De-f_'<%inclant_s_"il
conduct Wa's;f~intent_ionalandmalieious»anti conducted m bad faith

219_.,. De'fendant's were aware-tot the Plaintift`s disability_,- and
accommodations set'fo`urth.. The Defendants denied the Plaintift`s
accommodations :Vio`latin_g T-itle 42, Chapter 126,.`, Subchapter 3§_-Section

121*89`. These actions cause undue hardship, :str_ess_, and humiliation toward '

 

 

'.J\ »l!~v b») `\\), »-‘

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the Plaintiff, thereby justifying an award of punitive damages in an amount
according to proof

WHEREFORE the plaintiff seeks relief set fourth below

ELEVENTH CAUSE_OF ACTION

g g Counnsrou
`(as' to the De.fend'ants Butte Community Colle'ge; DINEASE ADAMS)

"2:20.. Plaintiff repeat and incorporate by reference Para_gr’aphs.~_l through 172
--and paragraphs 174 through 253 of this complaint astho'ug`h ‘fully~ise't fourth
hereirl.-

2251 Plaihtiff lsmformedand believes.andthereonleHege-§Defendants"
cc)'_nduct'wa`s. intentional and malicious and conducted in liad::faith:and'
against Educati'o'na'.l Adm?inistrative' Proce‘dur‘es,,, BUTTE"COLLEGE
.P,OI,ICY,,_ and laws supporting the vPla.'t'ntif"fs.'C'_i_"‘\`/.;il;:L'ib¢l§"il€>_.S»._

WHEREFOREthe plaintiff seeks relief set fourth..l`)el"ow'

TWEAL'IH.CAUSE OF ACTION,

VIOLATIUN -OF DUE PROCESS ‘CLAUS§E,
(as to the Defendants Butte Cornmunity C_ollege_)

COMPLAINT - 39.

 

 

 

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'222- Plaintiii` repeat and incorporate by reference P_aragraphs l through 172
and~paragraphs 174 through 253 of this complaint as though fully set fourth
herein

';2_2`3;. Plaintift` is informed and believes end thereon allege befendants’
conduct was intentional and malicious and conducted in bad faith. The
Plaintiff"was denied the right to: confront his .accuse_rsj, violating the
inauguration of'th'e civil procedures of the`Plaintiffs’ dismissal hearing,at
BUTTE CQL`L.EGE;~.; '““‘-1=`/16: malicious commencement cfa .-c".ii/-_`il.
proceeding is :aciz'onable;becausie-.it.`.lzarm‘s' lk_'e_. individual againstwho'm
the claim is macle, emch also because i;z‘ threatens the‘ejj(iciem
administration ijustt'ce.,.;j”l,'fhe zindividujal.is harmed because .h'€.-; is
compelled to defend against ar fabricated claim- wlz'ich not only subjects 4
him to `_‘z,‘lze._panoply Qf`ps__ychological pressures most"-c'ivil defendants
suffer, but also §ili€-Qddilioh§zl-.Stress of attempting to resistia suit
commenced aut"of"'spite or ill'wil_l, often:magnij€e_d by slanderous
allegations in the lp_le‘aclin_g.s~.”"1 (Merlet v. Ri;z_,@~ (1998) 64 Cal.App:4th ~

53.,.5'9 [75 caspech 331 ., internal citation marietta

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COMPLA]NI` - 41

 

 

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224. _SLAUGHI`ER, the hearing officer is guilty of authorizing
unjustifiable motions during the hearing.,, failing t'oi impose the
prosecutions obligation to “Bare The Burde'n of Truth.” “To establish a

cause of action for the malicious prosecution of a civil proceeding, a

plaim‘i]j”must'plead and prove that _ih'ie~ prior action ('i) was commenced

by or az the direction of the defendant and was;pers_eed ,ro' a=l:e;gal
termination in his, _plainn]j”s, favor; (2.-) was brought Wz_`ih_ou_i probable
cause;‘ and (3 j was initiated with mal_ié.e~-.,."’ (B.e_rz‘ero v-. ~.National `G'e__r`-zeral
Corp (1-974) 13 Cal3d43,55'fl[118CalRptr184,5291'°.;2€1 `.6()8]-,
internal citations omitted.)‘

221_5.. SLAUGHTER,_"the hearing oftiicei:, failed to support
ZLOEFFLERPfs '6"*12am-e'ndmen_; right-t Depnvmg LEFFLERsto ""‘fefuté
the charges by confronting and 'cross-enamining».ad§§fense: Wi:tne`sses.».,”

Nevels 'V:'..Hanlo'n, 656`.1?.2¢17373., 376 (8th Cir; 1198-11) '

226., '[.`he-.Plaintiffs disnnssal_lhearing.,ifom BU].`TE- COLLEGE did not
follow'nol_l;-Gjriminal.proc‘e'edin'gs, the right to confront and cross-examine

Wime__'ss'es is part of procedural due process guaranteed by the Fifth and

 

 

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Fourteenth Amendments. Willner v. Commz‘i‘tee on Characier and Fiiness,

373 U.s. 96, 108 (.1963_)

WHEREFORE the plaintiff seeks.relief 'set fourth below

TIDR"IE_ENTH CAUSE_ OF_ACTION
BR-EACH GF CON'ERAC']€.` b
(as ito the Defend'ants Butte Communit'y. .Colleg`e)

2217.- Plaintiff repeat and incorporate by reference Paragraphs l through 172
rand paragraphs .1 74 through 253 of this complaint as though fully set fourth l
herem l l 1 l

223¢=~ Plamtiff`1s- informed:and believes and thereon allege _lDefendants"
conduct was intentional ,;-and. malicious and conducted 11_~1 bad faith.

229 nefenaams were aware-prize meeting kcit-Sz_ibiiny-_,_ and
accommodations_. set fourth The Defendantsidenied-the Plaintif_t`s':
accommodations Violating Title42_', Chap_ter 1261 Subchapter. 3,; Seetion
l12`189`. These actions cause undue hardship, stress, and humiliation toward
the Plaintiff, thereby justifying an award .ofjpunitii/_e damages inan` amount
' according topr'oof.,

WHEREFORE the plaintiff 'seek_s relief set fourth below

COMPLAINT - 42;

 

 

.~PL)J

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FOURTEENTH CAUSE OF ACTION
WRONGFUL `USE OF ADMINISTRAT]VE

PROCEED]NGS _
(as to the Defendants Butte C`ommunity College`)

'23'0-. Plaintiff repeat and incorporate by reference Par`agrap'hs l through 1721l
and paragraphs 174 through 253 of this complaint as though fully set fourth
_herein;@

2331 Plajntift"is: informed rand ‘b!elievesz and thereon-allege Defendan`ts"
conduct Was intentional and malicious and done for the purpose ofl'oausing:
-.Plaintif€'to"suffer hmniltatlon,_§.mental ang!lli§`h»;and emotional iiistress"_ The
following are the Defendants and Vi"ola`tions;_.

23"2»`~. RENVELE “'S"un'lmaI-'ily Suspen'ding” the Plaintiff, is in Viol'ati'on of
.California .Educa'tional:¢ode 43-900§£[1)($). 'f_he*-Pl-aintiffi-Wa`s not»a “pupil’i at
the-;.tirne-of'the suspension

233. RENVILLE, failed to conduct-and organize antl‘ atlfriini§trativez
hearing for the Plaintiff in the appropriate tirne, This conduct is in Violation
o_f_ S'ectio_ns 6_6_2`7;1.1,, `66_70_0 and.7Q9Gl,‘E`11ucat,ion Code;.__and section l 1138,
‘Govemment .C_C)de', Reference: Seotions 61`6250 fe_t seq-. and 7210_11, Education

Code; and sections ll`135 ;ancl 11136, Gov_ernment Code. The Plainti`ff has

C.OMPLAINT -. 43

 

 

 

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submitted several formal grievances; none have been address at this current
time y
234. SLAUGHTER, failed to comply with Government Code 11529.-

Denying the Plaintiffs’ right to be represented by counsel, submitting
evidence and-testimony lacking relevant declarations, affidavits The'
'Defendant’=s lack of discretion allowed hearsay testimony to used against
the Plaintiff,_, and is not supported by Sectio_n 527 of the Co_de of Ci_Vil
Pro'cedur"e. 1

,2~3.'51. The:.Plaintiff is informed and believes the conduct o_f the allege are in "
Violation of"'l`itl'e:i$», Sec'tion 4130.'11 De_fendants are guilty of violating y
procedures "se`t, fourth to-'_p_ro'te_ct 't_h'e Plaintiff’s_ civil..librari'e_$. and _S.afeg'uard
his constitutionf-al.-'r!i;ghts_.,l Defendants are'.jgtiilty .Of‘falsiflcation, distortion,_
misrepresentation of information related to 'thefPlainti~if.. Defe_ndants are
guilty of conduct disrupting or interfering with the orderly process-l of a
student~"(Plaintift)_ -administcatiye proceeding,..thereby. justifying an award of
punitive damages in an amount according to proof

WHEREFORE the plaintiff seeks relief set fourth below

FIFTHIEEN'IH cAUsE. or _ACTICN
ATTEM:PTED EXTORTION'

COMPLAINT - 44

 

 

 

 

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(as to the Defendants of Chico Poli'ce; DUFREE)

236. Plaintiff repeat and incorporate by reference P.aragraphs 1 through 172
and paragraphs 174 through 253 of this complaint '_as_ though fully set-fourth
herein

237. Plajn'ti_ff is informed and believes and thereon allege .Defendants."
conduct was unbecoming of`ra-,Peac’e Oflicer who‘uphold's the law',
Defendant.’s conduct was committed while under the custody cf DUP_REE"-,;
lltherefore meeting the criteria .o.f a “S_pecial Rel_ationship._” DUFREE thereby
adopts the duties and reSpOn§i`Uiiities of protecting the rights of the Plain£iff,.
IlOt: exploit them, Ihe_ De`fendants~:are also gulltyunder ZLZ`U.':S._ Code § 1_98§
by ‘?Failing;' to intervene_.”

238-1 ThezDefendants attempt to extort the l'.’l_aii:ttiffs"ll right of due pro'cess,_
‘Whtle acting'underthe color ofiaw, ‘i_s gxnlty=uaaer C-aliforniaPenal `Cod'e
'5\119:, 522.. Thereby justifyrng an award of punitive damages accordingto
proof

WHEREFORE the ji§l?ilitiff"seeks relief serl fourth below

SD<'IEENTH CAUSE.OFVACTION

HLLEGAL SEARCH ANB SEIZURE
(as' to»th'e_ defendants of `LCHICO POLICE DEPARTl\/,IENT; DU-FREE_)

COMPLA_D‘IT' ~ 45

 

 

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239. Plaintiff repeat and incorporate by reference Paragraphs l through 172

240. Plainti'ff is informed and believes and thereon allege Defendants’~

241 DUFRE?E, without the consent of the-'Plainti`ff_; used the Plaintiffs-'" car

4431 amendment .right,_ thereby justifying an award off puniti\_te damages

COMPLAD\I.T - 46

 

 

Cas`e 2:16-cV-00961-.]A|\/|-AC Document 1-2 Filed 05/05/16 Page 47 of 55l

and paragraphs 174 through 253 of this complaint as though fully set fourth l

herein

conductwas unbecoming off a.Peace. Ofticer who upholds the law,
Defenaant;"s conduct‘was_.~eomrsiued.whiie-nnderzthe custody ofDUFREE,
therefore meeting the criteria of a ‘t'Spec'ial Relationship,?’ DU_FREE thereby
adopts the duties and responsibilities of prote.c`ting-' the rights of the Plaintiff,
not:exploit ':them. `_The'Def,`en<lauts are also;gu_i.lty under 42 'U:S; Code. § 1983

by ‘:";Failing to ihliefvenei”

keys to locate,- search and seize items from the Plaintiff’s vehicle The
Plaintiff"repeatedly informed ,th'e‘.Defendants,,, "‘1 do not camera reo-any
searches ~gr_,_seizu_r-'es.!-"-’ ThePlaintii`f.`is§'inforfme"d§§and believes no “exigent”.
circumstance justifying the conduct of.nie,.lhefendants,_ and seeks the view ~
by a_jur-y of his peers as to'the authenticity authorizing the conduct of"the

Defendants. Th'e` Defendant"s are guilty of the allege, violating the Plaintiff`s

according to proof.`

 

 

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COMPLAINT - .47

 

 

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WHEREFORE the plaintiff seeks relief set fourth below »

SEVENTEENIH CAUSE OF AC'l-`ION
FALSE BVIPRISONMENT
(as to the defendants of ENLOE HOSPITAL; HAV[ER, GUA.RD`,

'Krrriu, WEsr, AnENA; BU.TTE coLLEGE-; .ADAMS, REN.vr_LLE,
BEASLEY, slvnTH)

242. - Plaintiff:r~epeat and-v incorporate by reference Paragiaphs '_l_'.through 172
and paragraphs 174 through;253 of this complaint as though fully ~Se.t‘fom't}`h '
herein

243 . Pl'ai'ntiff is-. informed and believes and thereon allege Defen'd'ants"
conduct -W_as intentional and malicious and done for'_i the pmyzo,se of causing
Plaintifl"to Suffer`hurniliation,_ mental anguish, 'emo'ti'en'al di'stress', and`t‘o.
damage to; his.~r:epnration, and fence employment ~Ensu`ing the P'lai-ntiffs
"‘Sumrnarily Su`sp'ension” from RENVILLE, defending allegations from
.;BEASLEY,_. discnmmationfrem BUTTE and used as leverage m Wn"tfen
testimony by ADAMS, S,MITH, ARENA, and,WEST. _

244. The"Defendants are guilty ofdeliberately__providing CHI_CO POLICE z
OFFICERS "‘false and materially incomplew:hiformation of a character that l
could be'stiniulated an.arresti""’ (Du.Lac v~. P'e-rma' Trans Pz‘foducts,- 'Inc-..

(1930) 103 .caiApp.s'd'ssv';,..Q/J‘,_i [163 cai-;Rpe. ess],'inremai citation

 

 

 

 

 

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omittcd.)

245. The Defendants detained and imprisoned the Plaintiff without cause
of action, and Without legal authority (Pcnal Code 830). Th_e Defendants
conduct resulted in the 4Plai`nt:iff suffering emotional distress_,`humiliation,
and physical harm. The Plain'tiff sought medical evaluation at Feather River
Hospital, and suffered from a dislocatedl shoulder and multiple contusions to
the cervical spine,.and_ bilateral contusions .tO`;§h_is lower extremities by the act
of"the£Defendant-s.» (C'ervam‘ez v-. ]C Penney\'C-,To;._. _(1.979)'24`Ca13d 5791, 592
[=1'56 'Ca-IQ.RPZ?'. 1983 595 P,Qd 975]._)

246. 1a preferr'n'ing:the:act;herein allegedj Defendanis acted fraud.u'len`tly_,.4
maliciously;, and oppressively, €‘n'onconsen'_sual_-, intentional confinement .:of a
person, without lawful-privilege for an appreciable flen'gth¢of tirne, however n v
short.” (Fermino v. Fedca, Inc. `(1994) 7 Cal.4th 701,_ 716 [30 C.al.Rptr'.Zd
1.'8 1872 _P-.zd;$$'§]',:imemal. defines omiaeii.)., Wimm iue meaning efii>_eaai '
Code section 23 6, thereby justifying an award of'punitive--and nominal

damages in an amount according ;to` proof and deemed 'by' the courts
WHEREFORE the plaintiff seeks reh,ef set fourth below

EIGPH`EENTH CAUSE OF ACTION
UNLA_WFUL ARREST

COMPLAINT' - 48

 

 

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(as to the defendants cf CHlC-O POLICE DEPARMNT; DUFREE)

247-. Plaintiff repeat-and incorporate by reference Paragraphs_' l through 172
and paragraphs 174 through 25 3 of this complaint as though fully set fourth
herein.

248. ln performing the act herei_n, the allege failed to authenticate a process
of cause biased on facts leading up to the detainrnent of the Pla_inti`ffl “'lt' has
long been the law that a cause of`a§&tiion- for false..imprisonment is stated
Whe_re it is alleged'that there Was an arrest Without process, followed by
imprisonment and damages Upjon_ proof ofthose facts the burden is on the
defendant.to prove justifieatiori for-the arresti”" (Cervaiz‘rezvv., .IC... P-ennay
Co.. {"197`9) 24 Cal.'3di579,_ 592 [156.'Cal,Rpt1'-. 1985 595 P.2d 975].)

249_. hijpreformingr th€% act herein alleged Defen_dants. acted fraudulently,
maliciously',. and oppressively-g "‘nonconsensual,_ intentional confinement of a'-
person, without lawful privilege,- for an appreciable length oftime however .
short."" (Farmz"n'o_" v. F’edco,» In‘c. .(1 994)_.-. 7 Cal-.¢lth.'?()§`l., 7`16‘[3'0 Cal.Rptr.2d
18, 1872 P.Zd 55`9'~]',__ internal citations omitted.').' Within the meaning of Pe`na.l '
Code section 236~, thereby justifying an award of punitive and nominal
damages in an amount according to proof and deemed by the court

WHE§REFORE the plaintiff seeks relief set fourth below

COMPLAINT ~ 49

 

 

 

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TWENTY'I`_H CAUS_E .OF A_CTION

. ASSAULT AND BAT'K`ERY
(-`as to the defendants of ENLO.E HOSPITAL-, CHICO POLICE
DEPARTMENT, BUTI`E COLLEGE)

250. Plaintiff repeat and incorporate by reference Par.agraphs l through 172
and paragraphs 174 through 25 3 of this complaint as though fully set fourth
herein

251. Plaintiff is informed and believes and thereon allege Defendants’
conduct was intentional '&.rl_d malicious and done for the purpose of causing
Plaizitifftc Suff€rhmmhatlon mental anguish .emi<)t§iona'l? disness,<and to
damage t'_o'_hi's reputation,_ "‘-Anticipatin_g.’~’ the ramifications litem the Plaintiffs
“Sumrnarily S~uspension” from RENVELE, defending allegations from
BEASLEY? discrimination &om' BUTI'E, and used ia's` leverage in Writtjen
testimony byADAMS, SCHAFER, Sl\/HTH, ARENA, and WEST,.
(K'z's'eskey v. Carpen`ters " Trus`rfor Sozzthern' Calz‘fornia f1983_`) l44
Cal.App.sd.~zzz, 232 [192 Cal.Rpe.492].) t

2-52; _ln'pret`or_ming ithevacts herein alleged; the Defendant;s acted with a
Willfnl disregard of the Piaintifi’ s rights :and;’ignored the.-‘P_laintiff’-s

repudiation of consent (Ashcraft, supra,_ 228 Cal App.§d at p. 613,

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4W'n:ai'zr'.roms the plaintiff seeks 'reiierset:.rqararbei@w

 

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internal citation omitted.) T_he conduct of the defendants placed the
Plaintiff in a constant state of tear,_ resulting in preventable mental
anguish, and emotional distress

25 3'. The Defendants detained and imprisoned the Plaintiff Wi'thout cause
of action, and without legal authority (P.enal 'C'ode_~ 830),.. `The Defendantsv
conduct resulted in the P_iaint_jff suffering emotional distres s,, hunnliation,
and physical harm. 'The Plaintiff sought medical evaluation at Feather 'Ri_v'er
Hosp'ital, and suffered from a dislocated. shoulder and multiple contusions to

the cervical spine, and bilateral contusions zto his lower extremities by the act

of die `Defend'janr§ ~C."`C`e'_rv'aazaz; ‘v. j.C `Pjenrz'ey ‘Ca.. ,(~'~`1979) 24 -.£;"¢;£',.3¢1 579`, 5 92_- -.

[156 ~Cal;szT. 198, 595.P2d 975`];}
254.. Plaintiff continues to suffer the financial burden inflicted by the
DCf€HdaDt§-, thereby justifying an award of punitive and nominal damages in

an amount according re proor’aa& aesm¢a.sy-rh¢¢@m

WHEREFOR`E the~plain'tiff request judgment against Defendants

as follows:

COMPLALNT - 51

 

 

 

 

 

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l. F or general damages according to law and proof;-

2. For Spec_ial damages aceording.to law and pro‘of;

3. For' Co'st of Suit';`_

4. For Attorney fees;

5 , For Defendants_, and each of'tliem to return to Plaintiff all funds and
assets acquired by any means of any =aet or .Pra_c'tioe' declared by this court
to be unlawful or fr.audulent,,

6,.~ Eor statutory damages

7‘. For accounting from 'the,Defendants to..Plaintiff and the amount found
to he due front Defendants‘ as a're'sult'ofthat:accounting;

8_, For an award o£jpuinitiveaan'd" exemplary damages linen ;a_moun_t
accordingto proof as permitted by law;';

'9. For_ an award of`reasona‘bly 'attoi-'neyffees' and ;eosts.‘and executed si fees
pursuant:t_o Welfarje`; code:.

l,O`_-. For an award and costs?, including ielit<?mey .fees_._pursuant.to 'C;ode Civ.
Pro'c,, section 52, subd. ('a‘);

lll. For' permanent injunction against the Defend'ants i;or leaving the
Plahiti~f€ no eho_ice but to relocate to another -area._and the Enancial burden

followed by it.-

COMPLAINT ~-52

 

 

 

 

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12. For the loss of earnings and future earnings the Plaintiff continues to
isuffer due to the damages and conduct by the Defendant's. _Corrupting_ the
economical .employment.~of the Plaintiff~"a;s "‘Fireiightet/Pararnedie.”
“Loss of earning power is an element of general damages which can be
infert'edfrom the nature of the injury "Wz`thozltproof_ofacz‘ual earnings or
income either before or anewth iajzzig)i iancl’damag‘e's mthz's respect are
awarded for the loss ofabz'lz"ty thereajiei' to earn money. ” (Connolly'v.
Pre.-Mixed Conc'r"ete Co. (-1957)»49' Cal;.’).d 4'83, 489 EB~ilQ P;Zd 343].)

_Il.3:. A ddola`rati,on 'ofiights 'deelaring;.defendants’ policies and Pro'eedur'_es
to be unconstitutional-as a Vl@lahonOfAm<>le 1. `Seet'ion 21 o'fth'e_
Califoniia~€onstifuii©n,

‘154. _A declaration of rights declaring defendants policiesf-='and procedures
to be unauthorized ~'a_‘n'd illegal wider 'Q-'a`l_ifbrn`la Edu©ationalj€od`€js}_;

l_5.. R_easonab`l_e. attorney feed according to pr0.0`f, pursuant to C.o'd_e Of
Civil `Procedu_res, Seetion 1021 _. 5':..;

.11_6_;~. .Suc'h;Other.relief the court deems just and piop'er'.,.

vsnniossion

COMPLA.B`Q`T ' 53

 

 

 

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'GQ \l

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l am the Plaintiff in this action l have read 'the' Complaint,- and it is
true of my own knowledge,_ except as those matter stated on information or belief,
and.as to those matters,_ l believe them to be true.

l declare under penalty of per_jt`ny under the laws of the State of

California that‘the foregoing is true and correct

 

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